  Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 1 of 31 PageID: 110




 Robert W. _Knaak
 413 Pine Avenue
 Egg Harbor Township, NJ, 08234
 609-,277-5770




· UNITED STATES DISTRICT COURT
 OF THE DISTRICT OF NEW JERSEY
 Camden Division
----------------------------- ----------------------------x   Di strict Case No. 18-17309-N LH

 In Re:    ·                                                  Bankruptcy Case No. 18-1533-ABA

 Robert W. Knaak,                                             Bankruptcy Case No. 18-1617-ABA

                                     Debtor.                         Chapter 13



---~-----------------------------------------------------x


 NOTICE OF MOTION AND CERTIFICATION TO REINSTATE THE APPEAL BECAUSE
 US TRUSTEE AND·US CHAPTER 13 TRUSTEE ISABEL C. BALBOA IS A PART OF THE
 BANKRUPTCY CASE AN.D PURSUANT TO AN ORDER DATED DECEMBER 28, 2018
         . . BY CHIEF BANKRUPTCY JUDGE KATHRYN C. FERGUSON



      Piease Take Notice that the undersigned is moving before Honorable Judge

 Noel L. Hillman Cooper Street, Camden, NJ, 08101 on February 12, 2018 at 10:00

                                          A.M. for an Order

To Reinstate the Appeal because US Trustee and US Chapter 13 Trustee Isabel C.

      Balboa is a Part of the Bankruptcy Case and pursuant to an Order dated

          12/28/2018 by Chief Bankruptcy Judge Kathryn C. Ferguson and/or

                                                     1
                                                                                             .   \
  Case 1:18-cv-17309-NLH Document
                             .I
                                  5 Filed 01/15/19 Page 2 of 31 PageID: 111




because of special circumstances regarding holding governmental unfunded
                           .              .         , .   -          '




hearings and/or hearings in which the unfunded US Trustee, US Attorney's Office

or a party is not present.

If any party intends to object to this Notice of Motion, it must do so•in writing to

the 1.mdersignE:d and the District Court on or before January 22, 2018.

Dated: January 12, 2019




                                                              Movant Robert W. Knaak




CERTIFICATION IN SUPPORTOF NOTICE OF MOTION TO REINSTATE THE APPEAL
   BECAUSE US TRUSTEE AND US CHAPTER 13 TRUSTEE ISABEL C. BALBOA IS A
    PAR~ OF THi BANKRUPTCY CASE AN.D PURSUANT TO AN ORDER DATED
 . DECEMBER.28, 2018 BY CHIEF BANKRUPTCY JUDGE KATHRYN C. FERGUSON


Movant states the following to be true:



   1. Movant filed the bankruptcy petition chapter 13 on 7/13/2018
   2. Movant in the bankruptcy case 18-24064 had all the time issues with the. US Chapter 13
       Trustee Isabel C. Balbo·a handling and interfering in the bankruptcy case and adve_rsary

       cases 18-1533 and 18-1617 as a party. creati11g problems and turmoil because it is

       believed that the US Chapter 13 Standing 1rustee was in contact with Wells Fargb

     . Bank's counsel.

   3. The Adversary Proceeding indicates a faulty defective under false pretenses contracts

       (note a·nd mortgage .in which the original lender Wa~hovia and its successor Wells Fargo

       Bank concealed from the borrower regarding the Amortization Schedule and Payments

       of the Loan. in which borrowers never be able to pay off the principal balance. 1.t was not

                                                2
     Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 3 of 31 PageID: 112

·'

         disclosed at the closing the actuai mortgage payment for an alleged
                                          '                              .
                                                                             10-year loan.
                                                                                    '




         Moreover, the original lender and its successor never corrected. the Date of the Maturity
                                      .                                     '




         Date with a new note. The actual note signed on December 18, ·2007 bears December

         18, 2014 as a Maturity Date, The secured creditor and successor Wells Fargo Bank

         altered the note stating that the Maturity Date is December 18, 2017. Additionally, it

         states that: ·
           REPAYMENT TERMS:
                      This Note shall be due and payable in principal payments based a 20 year mortgage style
                      amortization plus accrued interest thereon on the date each principal payment is due. All
                    · remaining _principal and interest shall be due and payable 120 months from closing.. ·

         Appellant believes pursuant to contract laws, that, if a Maturity Date is uncertain

         because of contradicting facts on loan Documents-it makes the Note null and v9id.
            .   .                                   '                -

         Those issues are with the second Adversary Complaint 18-1617 but vaguely explained

         during the Hearings for the first Adversary Case 18-15_33.

      4. Further, Wells Fargo Bank, N.A. used a Third-:-Party Debt Collector independent

         corporation owned or controlled by Wells Fargo Bank to make filings in US Bankruptcy

         Court (Proof of Claim) in which on an unperfected Bankruptcy Form filed confusing and

         untrue Statements. Further, there is an issue of an officer of the Third-Party Debt

         Collector for Wells Fargo Bank, which is uncertain his role in this matter. He claims not

         to be an attorney._

      5. On 12/17/2018 Deotor filed a Notice of Appeal not only fo~ the Adversary Case but also

         for the Main Bankruptcy Case in regard to conversion to another chapter.

      6. On 12/18/2018 The US Chapter 13 Trustee named herself as an interested party to this
         action (18-1533). Exhibit D

      7. On 12/28/20_18 Chief Bankruptcy Judge Kathryn (.Ferguson entered an Order for all

         Bankruptcy Courts regarding. appropriation funds by Congress for US Courts. E~hibit        .A
      8. On January 9, 2019 the District Court dismissed the Appeal. Exhibit B

      9. All Judges, Officers, Clerks are US Government Employees and must follow standing

         Laws regarding shutdowns of the US Government pursuant to              31 U.S.C. paragraph 1341
         and 1342. The.US Bankruptcy Courts are only applying 1342 instead of 1341, which

        _prohibits employee from doing any free activities without congressional hew funding'. It

                                                        3
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 4 of 31 PageID: 113




    is also unclear, confusing, when the US Courts are running out of funds or if they are

    already because of different public notices which stating that the US Court have no

    more funds by January 11, 2019 and now they have no funds on January 18, 2019. A

    Shutdown is a Shutdown and the US Government with all its Branches needs money

    loan appropriation funds to operate. Since December 22, 2018 the US Government

    cannot grant the opening of US Courts.

 10. The Appellant filed on January 12, 2019 a Notice of Motion to Stay all Bankruptcy Cases
    for 60 Days. Exhibit C

 11. Here in this bankruptcy case is involved the US Trustee/US Chapter 13 Standing Trustee,

    therefore, this Appeal cannot be dismissed.

 12. Further, this case cannOt be dismissed based on understaffed clerks of the Bankruptcy

    Court working for free and unfunded transferring incomplete files to the District Court.

    Movant also received from the Bankruptcy Clerk Files of other cases for the Appeal.

 13. Movant filed, the Designation of record of the Bankruptcy Case.



    Wherefore, Movant request to reopen and reinstate the Appeal



    Dated: January 12, .2019




                                                     Movant Robert W. Knaak




                                   CERTIFICATION OF MAILING


    I Robert W. Knaak mailed on January 12, 2019 by USPS regular mail the forgoing Motion
    to reopen/reinstate the Appeal to:
        US Trustee, US Department of Justice, One Newark Center, Suite 2100, Newark NJ,
        07102
        US Chapter 13 Stan'ding Trustee Isabel C. Balboa; 535 Route 38, Cherry Hill, NJ,
        08002'

                                             4
         Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 5 of 31 PageID: 114

.   ..

             -   US Bankruptcy Judge Andrew   i3. Altenburg, Jr., 401 Ma·rket Street, Camden, NJ,
                 08101
             -   Greenbaum Rowe Smith Davis, LLP., 99 Wood Avenue South, lselin, NJ, 08830-2712.
             -   Phelan Hallinan Diamond & Jones, P.C., 400 Fellowship Road, Suite 100, Mt. Laurel,
                 NJ, 08054 ·



                                                              ~~~
                 Dated: 1/12/2019


                                                                Movant Robert W. Knaak




                 ~XHIBIT A




                                                    5
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 6 of 31 PageID: 115




                 UNITED STATES BANKRUPTCY.COUR'J'
                 DISTRICT OF NEW JERSEY

                 .TNRE:

                 Suspension of Bankruptcy Matters Involving the
                 United States as a Party




                   GENERAL ORDER INCORPORATING BY REFERENCE S'fANDING O ~ E B ~ '
                  OF TUE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
                      AS APPLIED TO .BANKRUPTCY CASES AND ADVERSAR.Y PR()CEEDINGS


                     The. relief set forth onthe following page is hereby ORDERED,

        ,:i-..




                     Dated: December-28. 2018                      Isl Kathryn C.'Ferguson
                                                                   Kathryn 'C; Ferguson, Chief Judge
                                                                   United States Bankruptcy Court
                                                                   District of New Jersey




001~4                                            10306001246016




                                                            '6
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 7 of 31 PageID: 116




                 This matter is before the court due to the lapse of congressional appropriations funding. the
        · federal govemme.i:t, including the Department of .Justice and the United States Atiomey's Office for the
         District of New Jersey (the "U.S. Attorney's Office''). Absent an appropriation. the United States ha~
         represented to the United States District Court for the District of New Jersey ("District Court") that
         certain Department of Justice attorneys and employees of the federal gove:rnmentare prohibited from
         working. even on a voluntary basis, except in very limited circumstances, including "emergencies
         involving the safety.of human life or the protection of property." JI U.S.C. § 1342. Therefore, the lapse in
         appropriations requires a reduction in the workforce of the U.S. Attorney's Office and other federal
         agencies; particularly with respect to civil cases. The Court, in response, and with the intent to avoid any
         default or prejudice to the United States, debtors or other litigants, witlrrespect t<l deadlines, motions or
         adversary proceedings which apply to. or may include the United States as a party, occasioned by the
         lapse of funding, enters this Order, it is hereby


                 ORDERED, effective December 28, 2018, Standing Order 18-4 of the District Court dated
         December 27, 2018 (and available on the District_ Court's website: njd.uscourts.gov) is incorporated by
         reference. All litigation in a bankmptcy case or adversary proceeding pending in the United States
         Bankruptcy Court for the District of New Jersey ("Bankruptcy Court") involving as a party the United
         States of America, its agencies, and/or any other party represented by the Department oi' Justice or the
         United States Attorney's Office is immediately suspended, and held in abeyance continuing either ( I)
         until the federal government is funded through congressional appropriation. or (2) for a period of 30 days
         from the date of the District Court Standing Order 18-4, \~hiehever comes sooner. The Court may renew
         or mQdily this Order depending on developments during this period. This Order includes as to the United
         States. the Department of Justice, or the U.S. Attorney's Office. the suspension of all pending deadlines to
         file proofs of claim, objections to: discharge, dischargeability, and confirmation   of cases under Chapter
         I_I or Chapter 13 of the Bankrnptcy Code for this period.


                 The_ Court warns debtors and litigants that this order does not affect deadlines, and other rights
         concerning motions, adversary proceedings. or appeals involving parties other than the United States.


                 ·Any litigant affoctcd by this Order ma~ seek relief from the Court by motion. The court may, in
         any pnrtic3lar matter. vnry tlic effect or operation of this Order by ·separate ruling.



                                                                 2




OOIM4   10306001246016




                                                             7
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 8 of 31 PageID: 117




                      The Couri shall distribute this Order by:

                      a.   Electronic mail to all registered CM!ECF users;
                      b. Mail to aH scff-represented debtors in a bankruptcy case;
                      c.   Mail to ail self-represented plaintiffs and defendants in adversary proceedings; and
                      d.. Posting the Order and a Notice to the Bar on the Court's website.

                      The Court shaO clarify the status of affected matters and deadlines upon expiration of this period
              and dependent on the timing ofthi: funding resolution or further order of this Court.




                                                                  3




 00!244                                              1030600124(>025



EXHIBIT B ·

                                                                  8
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 9 of 31 PageID: 118




            case l:18-cv-17309~NLH Document 2-1 Filed 01/07/19 Page 1 of 1 PagelD: 34



                                       UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY



        lnre:
        Robert W. Knaak v. Wells Fargo Bank ct al :
                                                                      Bankruptcy Case No.:        18-01533-ABA

                                  Debtor                              Civ. Action No.:          18-cv-17309-NLH




                                            ORDER DISMISSING APPEAL


                IT APPEARING to the Court that on                    December 17, 2018           a Notice of Appeal
        was filed from the order of the U.S. Bankruptcy Court dated ·                December 10, 2018             and
        entitled ----'·-"_O_rd_e_r_Gra_n_tin_g_M_o_ti_on_to_D_1_·sm_is_s_A_d_ver_sa_ry.__Pr_o_cc_c_d_in~g~"_ _ __,; and


                IT FURTHER appearing to the Court that the appellant has not filed a designation of
        record on appeal and statement of issues under Federal Rule of Bankruptcy Procedure 8009, nor
       · has applied for an extension of.time to.do so, and that the time for filing of same has expired;

                ITIS,.on this       o0   ~day. of,____J_a_n_uary
                                                            _ _ _ _~,2012._


                ORDERED, that the Notice of Appeal in this matter is dismissed under Federal Rule of
        Bankruptcy Procedure 8003 for failure to comply with Federal Rule of Bankruptcy .Procedure
        8009.


                                                                         ~~ l [-1-.,;..,;,,_ .,__~.
                                                                      Judge, United States District Court



                                                                                                   rev.8126115




EXHIBIT C

                                                                 9
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 10 of 31 PageID: 119




Robert W. Knaak
413 Pine Avenue
Egg Harbor Township, NJ, 08234
609-277-5770 .· ·



UNITED STATES BANKRUPTCY COURT.
OF THE DISTRICT OF NEW JERSEY
(Camden Division)

--------------------.-----------------------------------x
                                                                     --
In Re:                                                      Case No. 18-24064

         Robert W. Knaak,                                   Chapter 13

                                    Debtor,

and all other Debtor in the same situation.

-----------------------------·----------------- ------ -x
AND

Robert W. Knaak                                             Adversary Case No. 18-01533 ·

                                   Plaintiff,               Adversary II Case No. 18-01617

Wells Fargo Bank, N.A.,'

                                  Def!=ndant, and

all other Defendants, Plaintiffs in the ·

same situation.

---------------- ------------------- ------ .--------x-



NOTICE OF MOTION AND CERTIFICATION FOR AN ORDER TO STAY THE CHAPTER
                                                                .'   '

   13 BANKRUPTCY CASE IN US BANKRUPTCY COURT QF THE DISTRICT OF NEW
                      JERSEY AND ALL OTHER CASES



                                                      10
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 11 of 31 PageID: 120




     Please Take Notice that the undersigned is moving before Honorable Judge
    Andrew B. Altenburg, Jr. on February 15, 2018 at 10:00 .A.M. for an Order

  TO STAY THE CHAPTER 13 BANKRUPTCY CASE IN US BANKRUPTCY COURT OF
        THE DISTRICT OF-NEW JERSEY AND ALL OTHER SIMILAR CASES

because of special circumstances regarding holding governmental unfunded
hearings and/or hearings in which the unfunded US_ Trustee, US Attorney's Office
or a party is not present.

If any party intends to object to this Notice of Motion and Certification, it must
do so 10 Days prtor to the hearing ..

Dated: January 11, 2019
                                              .         ·             ~


                                                  Movant




  CERTIFICATION IN SUPPORT Of NOTICE OF MOTION AND CERTIFICATION Tp
 STAY THE CHAPTER 13 BANKRUPTCY CASE IN US BANKRUPTCY COURT OF THE
          DISTR,cr OF NEW JERSEY AND ALL OTHER SIMILAR CASES.



Movant states the following:



  1. US Government is unfunded, Congress did not authorize funds for the      us'
     Governments.

  2.. The US Government is unfunded and shut down ..

  3. The US Government is shut down for 23 Days.



                                         11
        Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 12 of 31 PageID: 121

•·.


          4. On 12/28/2018 A General Order was issued by the US Bankruptcy Court of

              the District of New Jersey by Chief Judge Katheryn C. Ferguson stating the

              following, 1st Order:·


              UNITED STATES BANKRUPTCY COURT
              DISTRICT OF NEW JERSEY

              IN RE:
              Suspension of Bankruptcy Matters Involving the
              United States as a Party

             GENERAL ORDER INCORPORATING BY REFERENCE STANDING ORDER 18-4
             OF THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF NEW JERSEY
             AS APPLIED TO BANKRUPTCY CASES AND ADVERSARY PROCEEDINGS.

             The relief set forth on the following page is hereby ORDERED.

              Dated: December 28, 2018 .

              Kathryn C. Ferguson, Chief Judge
              United States Bankruptcy Court
              District of New Jersey         .


        This matter is before the court due to the lapse of congressional appropriations funding the
      - federal government, including the Department of Justice and the United States Attorney's Office
        fo~fue              ·                                        . ·
      · District of New Jersey (the "U.S. Attorney's Office"). Absent an appropriation, the United States
        has                     ·
        represented to the United States District Court for the District of New Jersey ("District Court")
        that                        .                                                                   .
       certain Department of Justice attorneys and employees of the federal government are prohibited
       from
       working, even on a voluntary basis, except in very limited circumstances, including
       "emergencies
       involving the safety of human life or the protection of property." 31 U.S.C. § .1342. Therefore, the
       lapse in
       appropriations require a reduction in the workforce of the U.S. Attorney's Office and other
       federal · ,              ·                                        . .       ·       '
       agencies, particularly with respect to civil cases. The Court, in response, and with the intent to
       avoid any•                                    .                         .
       default or prejudice to the United States, debtors or other litigants, with respect to deadlines,
       motions or                                                       ·    ·
       adversary proceedings which apply to, or may include the United States as a party, occasioned
       by the                                              .
       lapse .of fund!ng, enters this Order, it is hereby                        ,
       ORDERED, effective December 28, 2018, Standing Order 18-4 of the District Court dated ·

                                                       12
           Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 13 of 31 PageID: 122

.   "'

           December 27, 2018 (and available on the District Court's \!Yebsite: njd.uscourts.gov) is
           incorporated by .
           reference. AU litigation in a bankruptcy case or adversary proceeding pending in the United
           States                                                                              ·
           Bankruptcy Court for the District of New Jersey ("Bankruptcy Court") involving _as a party the
           United                                   ·                                                   ·  ·
           States of America, its agencies, and/or any other party represented by the Department of
           Justice or the
         - United States Attorney's Office is immediately suspended, and held in abeyance continuing
           either (1)                                                           ·
           until the federal government is funded through congressional appropriation, or (2) for a period of
           30 days                                                                                    ·
           from the date of the District Court Standing Order 18-4, whichever comes sooner. The Court
           may renew                     .
           or modify this Order depending on developments during this period. This Order includes as to
           the United
           States, the Department of Justice, or the U.S. Attorney's Office, the suspension of all pending
           deadlines to                                .
           file proofs of claim, objections to: discharge, dischargeability, and confirmation of cases under
           Chapter
           11 or Chapter 13 of the Bankruptcy Code for this period.
           The Court warns debtors :and litigants that this order does not affect deadlines, and other rights
           concerning motions, adversary proceedings, or appeals involving parties other than the United
           States.           ,             ·    ·                         .
           Any litigant affected by this Order may seek relief from the Court by motion. The court may, in
           any particular matter vary the effect or operation- of this Order by separate rul\ng. ·

           The Court sh~II distribute this Order by:
           a. Electronic mail to all registered CM/ECF users;
           b. Mail to all self-represented debtors in a bankruptcy case;
         . c. Mail to all self-represented plaintiffs and defendants in adversary proceedings; and .
           d. Posting the Order.and a Notice to the Bar on the Court's website.
           The Court shall-clarify the status of affected matters.and deadlines upon expiration of this period ·
                  and dependent on the timing of the funding resolution· or further order of this Court.

                   2 nd order

          1/10/2019 Judiciary Operating on Limited Funds During Shutdown I United States Courts
          https://www. usco urts. gov/news/201 9/01 /07/j ud icia ry-operati ng-lim ited 0 fu nds-d uri rig-shutdown 1/1


          Judiciary
               .    Operating on limited Funds During
                                       .                                                                '


          Shutdown
          Published on January 7, 2019
          During the partial shutdown of the federal government, which began Dec. 22, 2018, the
          Judiciary· has                          .
          continued to operate by using court_ fee balances and other "no-year" funds: The
          Administrative Office


                                                                                   13
      Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 14 of 31 PageID: 123

J.




      of the U.S. Courts has revised its original estjmate and now is working toward the goal
     of sustaining
     paid. operations through Jan. 18, 2019.
      In an effort to achieve this goal, courts have been asked to delay or defer non-mission
     critical                                                     ·
     expenses, such as new hires, non-case related travel, and certain contracts. Judiciary
     employees are
     reporting to work and currently are in full-pay status. ,
     If existing funds run out and new appropriated funds do not become available, the
     Judiciary will
     operate under the terms of the Anti-Deficiency Act, which allows "essential work" to
     continue during a
     lapse in appropriations. This mission critical work includes activities to support the
     exercise of the
     courts' constitutional powers under Article Ill, specifically the resolution of cases and
     related
     services. Each court would determine the staff necessary to support its mission critical
     work.
     In response to requests by the ·Department of Justice, some federal courts have issued
     orders
     suspending, postponing, or holding in abeyance civil cases in which the government is a
     party for a                          ·
     limited period, subject to further consideration, or until appropriated funds become
     available. Such·
     orders are published on court internet sites. Criminal cases are expected to proceed
     uninterrupted.                                                    ·
     The Case. Management/Electronic Case Files (CM/ECF) system remains in operation for
     electronic         ·
     filing of documents.
     Courts have been encouraged to work with their district's U.S. Attorney, U.S. Marshal,
     and Federal                                                ·
     Protective Service staff to discuss service levels required to maintain court operations.
     The General                                   ·
     Services Administration has begun to reduce operations and courts are working with
     their local
     building managers to mitigate the impact on services.
            Updates will be provided as more inform 9tion becomes available.




       5. The unfunded US Government includes the US Trustee and all its counsels,

          officers, employees, etc., moreover, it includes all US Judges, US Courts
                                          .-
           Employees, Officers, Clerks, etc., which are freely and unpaid continuing

                                                14
               Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 15 of 31 PageID: 124

·,


                    working without being funded by Congress and which to this Date are
                                          .          '        .   .   .

                    holding Hearings without all Parties present in US Court Rooms.·

                6. Even the Publication of December 22, 2018, which stated the following: -

                   Judiciary Operating.During Shutdown
                    Published on  December 22, 207 B
                    Despite a partial shutdown of the federal government that began on Dec. 22, 2018,
                 · the Judiciary remains open and can continue operations for approximately three
                  · weeks, through Jan. 11, 2019, by using court fee balances and other funds not
                    dependent on a new appropriation.                                     .
                    Most proceedings and deadlines will occur as scheduled. In cases where an
                    attorney from an Executive Branch agency is not working because of the
                    shutdown, hearing and filing dates may be rescheduled.
                    The Case Management/Electronic Case Files (CM/ECF) system also will remain in
                    operation for electronic filing of documents.
                    If the shutdown were to continue past three weeks and exhaust the federal
                    Judiciary's resources, the court;s would then operate under the terms of the Anti-
                    D~ficiency Act, which allows work to continue during a lapse in appropriations if it
                    is necessary to support the exercise of Article Ill judicial, powers.
                    Under this scenario, each court and federal defender's office would determine the
                    staffing resources necessary to support such work.

                   There is no partial government shutdown. The "Antideficiency Act"                ,r


                   does not give Federal Departments of the US Governmen_t the right to
                   choose to remain open and unfunded, rather it states clearly the
                   following:


              Antideficiency-Act Resources
         <>   OVERVIEW




     I   e    REPORTING REQUIREMENTS




     I   0    SUBMITTING REPORTS




                                                         15
           Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 16 of 31 PageID: 125




I   <l)   ANTIDEFICIENCY ACT REPORTS




          Overview


          This act prohibits federal agencies from obligations or expending federal funds in advance or in
          excess of an appropriation, and from accepting voluntary services.

          The Antideficiency Act prohibits federal employees from

              •   making or authorizing an expenditure from, or creating or authorizing an obligation
                  under, any appropriation or fund in excess of the amount available. in the appropriation
                  or fund unless authori'zed by law. 31 U.S.C. § 1341(a}(1)(A).                      ·    ·
             • involving the government in any oblig'ation to pay money before funds have been
                  appropriated for that purpose, unless otherwise allowed by law. 31 U.S.C. §     ··
                . 1341(a)(1)(B).                              ·     ·
             • · accepting voluntary .services for the United States, or_ employing personal services not
                  authorized by law, except in cases of emergency involving the safety of human life or the
                  protection of property. 31 U.S.C. § 1342.
             • making obligations or expenditures in excess of an apportionment or reapportionment, or
                  in excess of the amount permitted by agency regulations. 31 U.S.C. § 1517(a).

          Federal employees who violate the Antideficiency Act are subject to two types of sanctions:
          administrative and penal. Employees ·may be subject to apprqpriate administrative discipline
          including, when circumstances warrant, suspension from duty without pay or removal from ·
          office. In addition, employees may also be subject to fines, imprisonment, or both. ·

                  . Moreover, the US Government and its Branches exceeding its Powers
                    to remain open and in business, illegally; without any public
                    disclosures for violations com·mitted. Here are a list of violations
                    committed by various agencies:


          Antideficiency Act· Reports
          Antideficiency Act Reports - Fiscal Year 2017

          https://www.gao.gov/products/D18063




                                                          16
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 17 of 31 PageID: 126




D18063: Nov 15, 2017

This document is GAO's summary of agency Antideficiency Act Reports for fiscal year 2017. It
includes unaudited information extracted from agency Antideficiency Act reports filed with GAO,
as required by section 1401 of the Consolidated Appropriations Act, 2005, Pub. L. No. 108-447,
118 Stat. 2809, 3192 (Dec. 8, 2004}. Each report entry includes a brief description of the
violation, remedial actio ...



        ~                               .   .
    •    '-''! View Decision (PDF, 33 pages)

Antideficiency Act Reports - Fiscal Year 2016

https://www.gao.gov/products/D15316


D15316: Dec15,2016

This document is GAO's summary of agency Antideficiency Act Reports for fiscal year 2016. It
                                                                                          . . cf
includes unaudited information extracted from agency Antideficiency Act reports filed with GAO,
as required by section .1401 of the Consolidated Appropriations Act, 2005, Pub. L. No. 108-447,
118 Stat. 2809, 3192 (Dec. 8, 2004). Each report entry includes a brief description of the
violation, remedial actio ...




    • "7~l View Decision (PDF, 25 pages)
Antideficiency Act Reports - Fiscal Year 2015

https://www.gao.gov/products/D12252


012252: Nov 24, 2015

This document is GAO's summary of agency Antideficiency Act Reports for fiscal year 2015. It
includes unaudited information extracted from agency Antideficiency Act reports filed with GAO,
as required by section 1401 of the Consolidated Appropriations Act, 2005, Pub. L. No. 108-447,
118 Stat. 2809, 3192 (Dec: 8; 2004). Each report entry includes a brief description of the
violation, remedial actio ...



        ,iiih
    •   ,;:-..1   View Decision {PDF, 21 pages)



                                                  17
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 18 of 31 PageID: 127




Antideficiency Act Reports - Fiscal Year 2014

https://www.gao.gov/products/D10079


D10079:Apr13,2015

This .document is GAO's summary of agency Antideficiency Act Reports for fiscal year 2014. It
includes un'audited information extracted from agency Antideficiency Act reports filed with GAO,
as required by section 1401 of the Consolidated Appropriations Act, 2005, Pub. L. No. 108-447,
118 Stat. 2809, 3192 (Dec. 8, 200.4). Each report entry includes a brief description of the
violation, remedial actio ...




   •    ~ View Decision (PDF, 12 pages)

Antideficiency Act Reports - Fiscal Year 2013

https://www.gao.gov/products/D06991


D06991: Mar 25, 2014

This docum·ent is GAO's summary of agency Antideficiency Act Reports for fiscal year 2013. It
includes unaudited information extracted from agency Antideficiency Act reports filed with GAO,
as required by section 1401 of the Consolidated Appropriations Act, 2005, Pub. L. No. 108-447,
118 Stat. 2809, 3192 (Dec. 8, 2004). Each report entry includes a brief description of the
violation, remedial actio ...




   • "tti View Decision (PDF,   17 pages)

        This list shows clearly, that the US Government is not complying with
        the law and is keeping those violations concealed and secret from the
       .public. Additionally, it shows that ~he US Governments and its
        Branches created own laws and additional Rules to keep the Doors
        open, when they must be shut to the moment they are funded. Federal
        Employees should not be paid for the period of the shutdown.

  7. Every Case of a Hearing in US Courts or Bankruptcy Courts requires a

       Representative of the Government to be present. Nor the US Attorney's

       Office, nor the US Trustees Office can grant for those unfunded missing

                                                18
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 19 of 31 PageID: 128




    requirements by law. Same applies to
                                      .
                                         US Judges, where as an example US
                                               '                       '




    Immigration Judges and their Courts are being halted and moved on leave o·r,

   vacations.

8. The Order expressly states that:
                                       c

   This matter is before the court due to the lapse of congressional appropriations funding
   the
   federal government, including the Department of Justice and the United States Attorney's
   Office for the
   District of New Jersey (the "U.S. Attorney's Office"). Absent an appropriation, the United
   States has represented to the United States District Court for the District of New Jersey
   ("District Court") that certain Department of Justice attorneys and employees of the
   federal government are prohibited from working, even on a voluntary basis, except in very
   limited circumstances, including "emergencies involving the. safety of human life or the
   protection of property." 31 U.S.C. § 1342. Therefore, the lapse in appropriations requires
   a reduction in the workforce of the U.S. Attorney's Office and other federal agencies,
   particularly with respect to civil· cases. The Court, in response, and with the intent to avoid
   any default or prejudice to the United States, debtors or ott:,er litigants, with respect to
   deadlines, motions or adversary proceedings which apply to, or ma·y include the United
   States as a party, occasioned by the lapse of funding, enters this Order
9. The Order does not specify, which Attorneys, Employees and Officer
   are prohibited from working even on a voluntary basis, but all::Judges,
   Attorneys, .Officers are Employees of the US Government and being
   funded· by Congressional Appropriations, therefore not p~rmitted to
   work and hold Hearings (Court Hearings or 341 Hearings) ..
 10. The US Courts, Bankruptcy Courts, US Government, US Trustee, US
   . Attorney's Office violating 31 U.S.C, paragraph 1341 (limitations ori
   expending and obligating amounts) (a)(1) An officer or employee of
   the United States Government or of the District of Columbia may not
   (A) make or authorize an expenditure or obligation exceeding an -
   amount available in an appropriation or fund for the expenditure or
   obligation; (B) involve either government in a contract or obligation for
                   '                       '                                    .

   the payment of money before an appropriation is made unless·
   authorized by law. Every Court or other proceedings has·
   expenditures. Those expenditures must be approved by Congress. To
                                                   19
    Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 20 of 31 PageID: 129
,

       this Date, ConQress gave ho Approval. Therefore, all Proceedings
        involving the US Government and its three (3) Branches including the
       Judicial Branch with their Employees are prohibited from doing
                           -                      '


        unfunded business, work and any other activities.
     f1. Movant has actions, hearings· involving the US Government and their
       Three Branches. It is unjust of holding hearings, actions without
        Funding and US Government as a Party not present, it is also unjust -
       for any US Court to held unfunded hearings; it is unjust for Judges,
       Officers, Employees of the US Government tq increase the US
       Expenditures from a previous Expenditures for US Courts without
       approval of Congress (31 U.S.C. paragraph 1341(a)(1)(A,B)..
     12. The Order exceeds the Powers of the Courts, which is not the
       Legislative Branch. Every Hearing held !n a US Court Room is
       arbitrary, biased, illegal, pursuant to US Laws and Huma_n Rights
       Laws and Treaties.
    13. The Cause of the unfunded financial mess [history] of the US
       Government is the Federal Reserve, which is a private corporation.
       Since US Congress gave the permission or authorization to the Fed
      . (Federal Reserve) named-in the Federal Reserve Act in December
                   -   '         .


       1913 to coin US Money, the US Government choose without t_he
       knowledge of the People, that this Country is living and creating
       everything based on debt. The US Government at that time and now ·
       is and was ai'ways in Debt, the difference is, that and especially after
       1933, when the US Government collected aH the Gold available from
       its citizens in exchange of "theAmerican Dream" (Credit System) and
       after the first financial crises from 1928, the US Government with all its
       Bran·ches and its citizens· became enslaved "Monetary Slaves" to the -

                                        20
    Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 21 of 31 PageID: 130

;




       Federal Reserve and its Controlling wealthy _Individuals. It started the
       new live of Credit for the US Government, its three Branches and its
       citizens. The Credit through -Bonds must be approved by US Congress
       for all three Branches for a certain period. The fact is that this Credit
       System drove the US Government slowly and continuously more i11
       Debt than the US Government can repay. Today around 21 Trillion
       Dollars~ This is the principle objective of the Federal Reserve to
       control Countries with Credits/Funds/Money, which is in major part-
       co'ntroll~d by the Rotschild Family and the Scheme started in the early
       1700, when the Rotschild was a Goldsmith and loaned money/paper
       to individuals with less Gold deposited in the Vault. Later he changed
       its business practices to loan paper money for governments and so
       did the Federal Reserve, which also Qave loans to Nazi Germany in
       1934.


       WHEREF_()RE, Movant is requesting a Stay for 60 Days for Movant's
       US Bankruptc;;y Proceedings and Advers_ary Proceedings and all other
       similarly US Bankruptcy Proceedings, US District Court Proceedings.


       Dated: January 11, 2019



         )


       Movant




                                         21
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 22 of 31 PageID: 131



                                                       :          .,     .


 14. The Order does not specify, which Attorneys, Employees and Officer .
    are prohibited from working even on a voluntary basis, but all Judges,
    Attorneys, Officers are Employees of the US Government and being
    funded by Congressional Appropriations, therefore not permitted to
    work and hold Hearings (Court Hearings or 341 Hearings).
 15. The US Courts, Bankruptcy Courts, US Government, US Trustee, US
    Attorney's Office violating 31 U.S.C,.paragraph 1341 (limitations on
    expending and obligating amounts) (a)(1) An officer or employee of -
   · the United States Government or of the District of Columbia may not
    (A) make or authorize an expenditure or obligation exceeding an
    amount available in an appropriation or fund for the expenditure or_
    obligation; (8) involve either government in a contract or obligation for
   the payment of money before an appropriation is made unless
    authorized. by law. Every Court or other proceedings has
               ,.


   expenditures. Those expenditures must be approved by Congress. To
   this Date, Congress-gave no Approval. Therefore, all Proceedings
    involving, the. US Government and its three (3) Branches including the
   Judicial Branch with their Employees are prohi.bited from doing
    unfunded business, work and any other activities .
. 16. Movant has actions, hearings involving the US Government and their
   Three Branches. It is unjust of holding hearings, actions without
    Funding and     us· Government as a Party not present,   it is also unjusf ·
                                           '
   for any U$ Court to held unfunded hearings, it is unjust for Judges,
  . Officers, Employees of the US Government to increase the US
   . Expenditures from a previous Expenditures for US Courts without
   approval of Congress (31 U.S.C. paragraph 1341(a)(1)(A,B).


                                      22
Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 23 of 31 PageID: 132




 17. The Order exceeds the Powers of the Courts, which is not the
    Legislative Branch. Every Hearing held in a US Court Room is
   . arbitrary, biased, illegal, pursuant to US Laws and Human Rights
    Laws and Treaties.    ,
-18. The Cause of the unfunded financial mess [history] of the US
  · Government is the Federal Reserve, which is a private corporation.
   Since US Congress gave the permission or authorization to the Fed
    (Federal Reserve) named in the Federal Reserve Act in December
    1913 to coin US Money, the US Governm·ent choose without the
   knowledge of the People, that this Country is living and creating
   everything based on debt. The US Government at.that time and now
   is and was always .in Debt, the tjifference is, that and especially after
    1933, when the. US Government collected all the Gold available from
   its citizens in exchange of _"the American Dream" (Credit System) and
   after the. first financial crises from 1928, the US Government with all its
   Branches and its citizens became enslaved "Monetary Slav-es" to the
   Federal Reserve and its Controlling wealthy lndividuc;ils. It started the
   new live of Credit for the US Government, its three Branches and its
   citizens. The Credit through Bonds must be approved by US Congress
   for all three Branches for a certain period. The fact. is that this Credit
   Systeni drove the US Government slowly and continuously more in
   Debt than the US Government can repay. Today around 21 Trillion
               .              I            •         -

   Dollars, This is the principle objective of the· Federal Reserve to
   control Countries with Credits/Funds/Money, which is in major part .
   controlled by the Rotschild Family and the Scheme started in the early
   1700, when the Rotschild was a Goldsn:iith and loaned money/paper.
   to individuals with less Gold deposited in the Vault. Later he changed

                                   . 23
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 24 of 31 PageID: 133




        its business practices to loan paper money for governments and so
        did the Federal Reserve, which also gav_e loans to Nc;3zi Germany in
         1934.


        WHEREFORE, Movant is requesting a Stay for 60 Days for Movant's
        US Bankruptcy Proceedings·and Adversary Proceedings and all other
        similarly US Bankruptcy Proceedings, US District Court Proceedings.


        Dated: January 11, 2019




        Movant




        Exhibit D


1/13/2019 US Bankruptcy Court NJ - Live Database
https://ecf.njb. uscourts.gov/cgi-bin/DktRpt.pl?253012764234071-L_ 1_0-1 1/6
DISMISSED
U.S. Bankruptcy Court
District of New Jersey (Cam den)
Adversary Proceeding #: 18~01533-A BA
Assigned to: Judge Andrew B. Altenburg Jr.
Lead BK Case: 18-24064
Lead BK Title: Robert W Knaak
Lead BK Chapter: 13
Demand:
Date Filed: 10/22/18 ·
Date Dismissed: 12/1 0/18 _
Nature[s] of Suit: 72 Injunctive relief - other
Plaintiff

Robert W Knaak
413 Pine Avenue
           '
Egg Harbor Twp, NJ 08234

                                                               24
        Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 25 of 31 PageID: 134

•

     SSN / ITIN: xxx-xx-1861
     Tax ID/ EIN: 26..:1522789.
     represented by
     Robert W Knaak
     PROSE
     V.
     Defendant

    Wells Fargo Bank , N.A.
    420 Montgomery Street.
    San Francisco, CA 94104
    represented by
    Lawrence P. Maher
    Greenbaum, Rowe, Smith, Ravin, Davis
    Metro Corporate Cam'pus One
    PO Box 5600.
    Woodbridge, N J 07095-0988
    (732) 549-5600 ·
    Email: lmaher@ greenbaumlaw.com
    Defendant      .    .

    Credit Manageme nt Group
    190 River Road
    3rd Floor
    Summit, _N J 07901 •
    represented by
    Credit Management Group
    PROSE
    Defendant

    Christopher Ford, Esquire
    represented by
    Christopher Ford, Esquire
    PROSE
    1/13/2019 US Bankruptcy Court NJ - Live Database
    https://ecf.njb.uscourts.gov/cgi-bin/DktRpt.pl?253012764234071-L_1_0-1 2/6
    Filing Date# Docket Text
    10/22/2018
    1
      (3 5 pgs) •
     Adversary case 18-01533. Complaint by Robert W Knaak against Wells
    · Fargo Bank, N.A.; Credit Management Group; Christopher Ford, Esq.
      Receipt Number UNPAID, Fee Amount$ 350. (72 (Injunctive relief -
      other)) Debtor is Plaintiff, Fee is not required (kvr) (Entered: 10/23/2018) -
      10/23/2018                       .                                .
    2
     (7 pgs; 2 docs)                    .
    ,Summons ·issued to Robert W. Knaak for Service on Credit Management .
     Group Answer due on 11/26/2018; Christopher Ford, Esquire Answer due

                                                                  25
   Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 26 of 31 PageID: 135




   on 11/26/2018; Wells Fargo Bank, N.A. Answer due on 11/26/2018 Pre~ ·
   Trial hearing to be held on 1/29/2019 at02:00 PM at ABA - Courtroom
   4B, Camden. (Attachments: # 1 .Pre Trial Instructions) (kvr) (Entered: ·
   10/23/2018)
   11/09/2018
   3
   (1 2 pgs; 4 docs)                                       .
   Motion to Dismiss Adversary Proceeding Filed by Wells Fargo Bank,
   N:A..Hearing scheduled for 12/4/2018 at 02:00 PM at ABA - Courtroom
   4B, Camden. (Attachments:# 1 Certification in Support# 2 Memorandum
   of Law# 3 Proposed Orderr(Maher, Lawrence) Modified on 11/14/2018
  TOREFLECT CONFORMED Isl MISSING FROM CERTIFICATION .
   IN SUPPORT. Opl) (Entered: 11/09/2018)
   11/13/2018
  4
   (6 pgs)
   Debtor/Plaintiff's Response/Objection to (related document:3 Motion to .
   Dismiss Adversary Proceeding Filed by Wells F~frgo Bank, N.A.), filed by
   Robert W Knaak. Opl) (Entered: 11/14/2018)
   11/13/2018             .      ,
  5
  (6 pgs).                                 .
  Certificate of Service (related document:2 Summons Issued to Robert W.
  Knaak for Service on Credit Management Group Answer due on
  11/26/2018; Christopher Ford, Esquire Answer due on 11/26/2018; Wells.
  Fargo Bank, N.A. Answer due on 11/26/2018 Pre-Trial hearing to be held
  on 1/29/2019 at 02:00 PM at ABA- Courtroom 4B, Camden.
  (Attachments: # 1 Pre Trial Instructions) (kvr)), filed by Robert W Knaak. ·
  Opl) (Entered: 11/14/2018)
  11/14/2018
  6
  (2 pgs)                     .
  Certificate of Service (related document:3 Motion to Dismiss Adversary
  Proceeding filed by Defendant Wells Fargo Bank, N.A.) filed by Lawrence
  P. Mahe.r on behalf of Wells Fargo Bank; N.A.. (Maher, Lawrence)
  (Entered: 11/14/2018)
  11/14/2018
  Correction Notice in Electronic Filing (related document:3 Motion to
  Dismiss Adversary Proceeding filed by Defendant Wells Fargo Bank,
  N.A.). Type of Error: Conformed Isl signature missing from Certification ·
  in Support, filed by Lawrence Maher. Please correct and refile with the
  court as 'Support' and link to Docket No. 3. Opl) (Entered: 11/14/2018)
. 11/14/2018
  7
  (4 pgs)
  Certification in Support in support of (related document:3 Motion to
  Dismiss Adversary Proceeding filed by Defendant Wells Fargo Bank,
  N.A.) filed by Lawrence P. Maher on behalf of Wells Fargo Bank, N.A..
  (Maher, Lawrence) (Entered: 11/14/2018)
  11/21/2018 8
  (3 pgs)
  Certification In Response to (related document:3 Motion to Dismiss
  Adversary Proceeding Filed by Wells Fargo' Bank, N.A..Hearing        ·


                                                    26
        Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 27 of 31 PageID: 136

.•

                                                          .   .     .               .

      scheduled for 12/4/2018 at 02:00 PM atABA- Courtroom 48, Camden.
      (Attachments: # 1. Certification in Support# 2 Memorandum of Law# 3.
      Proposed Order) (Maher, Lawrence) Modified on 11/14/2018 TO
      REFLECT CONFORME;D Isl MISSING FROM CERTIFICATION IN
      SUPPORT. Upl) filed by Defendant Wells Fargo Bank, N.A.) filed by
      1/13/2019 US Bankruptcy Court NJ - Live Database        ·                 ·
      https://ecf.njb.uscourts.gov/cgi-bin/DktRpt.pl?253012764234071-L_1_0-1 3/6    ·
        Lawrence P. Maher on behalf of Wells Fargo Bank, N.A.. (Maher,
        Lawrence) (Entered: 11/21/2018)
        12/04/2018
        9               '
        (1 pg) PDF with attached Audio File. Court Date & Time [ 12/4/2018
       2:04:04 PM]. File Size [ 10112 KB ]. Run Time [ 00:21 :04]. -(ad min).
        (Entered: 12/04/2018)
        12/04/2018
        Minute of 12/4/18 Matter taken under advisement (related document(s): 3
        Motion to Dismiss Adversary Proceeding filed by Wells Fargo Bank,
        N.A.) (be) (Entered: 12/04/2018)
        12/04/2018
        10
        (3 p gs)·
        Objection to Motion to Oismiss (related document:3 Motion to Dismiss
       Adversary Proceeding FHed by Wei is Fargo Bank, N.A. Hearing           ·
       scheduled for 12/4/2018 at 02:00 PM at ABA - Courtroom 48, ·Camden.
        (Attachments: # 1 Certification in Support# 2 Memorandum of Law# 3
        Proposed Order) (Maher, Lawrence) Modified on 11/14/2018 T,O
        REFLECT CONFORMED Isl MISSING FROM CERTIFICATION IN
       SUPP9RT. Upl) filed by Defendant Wells Fargo Bank, N.A.) filed by
        RobertW Knaak. (eag) (Entered: 12/04/2018)
       .12/04/2018
        12
       (2 p gs)                             .· .
        Response (related document:8 Certification In Response to (related
       document:3 Motion to Dismiss Adversary Proceeding Filed by Wells
       Fargo Bank, N.A..Hearing scheduled for 12/4/2018 at 02:00 PM at ABA -
     · Courtroom 48, Camden: (Attachments: # 1 Certification in Support# 2
       Memorandum of Law# 3 Proposed Order) (Maher, Lawrence) Modified
       on 11/14/2018 TO REFLECT CONFORMED /sf-MISSING FROM· .
       CERTIFICATION IN SUPPORT. UPI) filed by Defendant Wells Fargo
       Bank, N.A.) filed by Lawrence P. Maher on behalf of Wells Fargo Bank,
       N.A.. filed by Defendant Wells Fargo Bank, N,A.) filed by Robert W
       Knaak. (eag) (Entered: 12/07/2018)
       12/06/2018                ·
       11
       (1 pg)                 .                  .
       Judge Altenburg's Correspondence RE: Pleading Filed by Debtor/Plaintiff
       Robert W. Knaak (related document:1 Complaint filed by Plaintiff Robert
       W Knaak). (emf) (Entered: 12/06/2018).
       12/10/2018
       13
       (5 p gs)                                        .                        .
       Opinion on (related document:3 Motion to Dismiss Adversary Proceeding
       filed by Defendant Wells Fargo Bank, N.A.). Service of notice of the entry
       of this order pursuant to Rule 9022 was made on the appropriate parties.

                                                                        27
       Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 28 of 31 PageID: 137

._


      See BNC Certificate of Notice. Signed on 12/10/2018 {be) (Entered:
      12/10/2018)
      12/10/2018
      14
      (3 p gs; 2 docs)           .     ·           .                   . ·
      Order Granting Motion to Dismiss Adversary Proceeding (Related Doc #
      3). Service of notice of the entry of this order pursuant to Rule 9022was ·
      made on the appropriate parties. See BNC Certificate of Notice. Signed on
      12/10/2018. (be) (Entered: 12/10/2018)
      12/12/2018                   .
      15 ,
      (2 p gs)
      BNC Certificate of Notice - Order No. of Notices: 1. Notice Date
      12/12/2018. '(Admin.) (Entered: 12/13/2018)
      12/17/2018
      16
      (43 pgs; 4 docs)
      Motion re: and REeconsideration with Certification to Review the Court's
      Findings iin-the Memorandum regarding to convert th.is case to another
      Chapter and for considering Doc. 10 filed on 12/4/18 Filed by Robert W
      Knaak.Hearing scheduled for 1/1.5/2019 at 02:00 PM at ABA - Courtroom
      48, Camden. (Attachments: # .1 Certification # 2 Certificate of Service# 3
      Prqposed Order) (be) (Entered: 12/17/2018)
      1/13/2019 US Bankruptcy Court NJ- Live Database
      https://ecf.njb.uscourts.gov/cgi-bin/DktRpt.pl?253012764234071 sl_ 1_0-1 4/6
        12/17/2018 17
       (1 pg)                                                                 .
       Notice of Hearing for (related document:16 Motion an.d Reconsideration
       with Certification to Review the Court's Findings in the Memorandul')1
       regarding to convert this case to another Chapter and for considering Doc .
     . 1O filed on 12/4/18 Filed by Robert W Knaak. Hearing scheduled for       ·
        1/15/2019 at 02:00 PM at ABA - Courtroom 48, Camden. The following
       ·parties were served: Plaintiff, Defendant's Attorney. (be) (Entered:
       12/17/2018)
       12/17/2018
       18
       (14 pgs; 2 docs)                 .
       Notice of Appeal to United States District Court. (related document:13
       Opinion, 14 Order on Motion to Dismiss Adversary Proceeding). Receipt.
       Number 426754, Fee Amount'$ 298. Filed by Robert W Knaak. Appellant
       Designation due by 1/2/2019, Transmission of Designation Due by
       1/16/2019. (Attachments:# 1 Certificate of Service) UPP) (Entered:
       12/18/2018)
       12/18/2018
       Isabel C Balboa, Chapter 13 Trustee; Added to Case as Interested Party for
       Noticing Purposes. UPP) (Entered: 12/18/2018)                   ·
       12/18/2018
       19
       (5 p gs)
       Document re: Clerk's Memorandum to Self-Represented Appellant.
       (related document: 18 Notice of Appeal filed by Robert W Knaak). UPP)
       (Entered: .12/18/2018)
       12/18/2018 ·
       20

                                                                     28
                Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 29 of 31 PageID: 138
II,   I   ~




                (1 pg)                                                         ..
                Clerk's Certificate of Service of Notice of Appeal (related document:· 18.
                Notice of Appeal filed by Robert W Knaak). OPP) (Entered: 12/18/2018)
                12/18/2018                                                          .
               21
                (1 pg)
               Transmittal of Appeal Documents to U.S. District Court (related
               document 18 Notice of Appeal filed by Robert W Knaak). OPP) (Entered:
                12/18/2018)
                12/18/2018
               Returned Mail Notice. The court has received notification that the US
               Postal Service has determined that the following parties have an address
               that is undeliverable: Christopher Ford, Esq.(INCOMPLETE ADDRESS)
               (related oocument:14 Order on Motion to Dismiss Adversary Proceeding)
               (mrm) (Entered: 12/18/2018)
               12/19/2018
               22
               (1 pg)
               Notice of Docketing Record on Appeal to District Court. Case Number:
               18-cv-17309. (related document:18Notice of Appeal filed by Plaintiff
               Robert W Knaak). Judge Noel L. Hillman assigned. (nrf) (Entered:
               12/19/2018)                                                        .
               12/19/2018
               23
               (2 p gs)
               BNC Certificate of Notice - Order No. of Notices: 1. Notice Date
               12/19/2018. (Admin.) (Entered: 12/20/2018)
               12/26/2018
               Returned Mail Notice. The court has received notification that the US
               Postal Service has determined that the following parties have an address
               that is undeliverable: Christopher Ford, Esq. (INCOMPLETE ADDRESS)
               (related document:17 Notice of Hearing - (Generic)) (mrm) (Entered:
               12/26/2018)                               .
               12/2.8(2018 24
               (3 p gs)
              .GENERAL ORDER INCORPORATING BY REFERENCE STANDING·
               ORDER 18-4 OF.:THE UNITED STATES DISTRICT COURT FOR THE
               DISTRICT OF NEW JERSEY AS APPLIED TO BANKRUPTCY
               CASES AND ADVERSARY PROCEEDINGS. All litigation in a
               bankruptcy case pr adversary proceeding pending in the United States
               Bankruptcy Court for the District of New Jersey involving as a party the
               United States of America, its agencies, and/or any other party represented
               by the Department of Justice or the United States Attorneys Office is
              1/13/2019 US Bankruptcy Court NJ - Live Database
              https://ecf.njb'.uscourts.gov/cgi-bin/DktRpt.pl?253012764234071-L_1_0-1 5/6
                immediately suspended, and held in abeyance continuing either (1) until
                the federal government is funded through congressional appropriation, or
                (2) for a period of 30 days from the date of the District Court Standing
                Order 18-4, whichever comes sooner. This Order includes as to the United
                States, the Department of Justice, or the U.S. Attorneys Office, the
                suspension of all pending deadlines to file proofs of claim, objections to:
                discharge, dischargeability, and confirmation of cases under Chapter 11 or
              , Chapter 13 of the Bankruptcy Code for this period. Notice of the entry of
               this order under Fed. R.Bankr. P. 9022 has been given to the following

                                                                            29 ·
                       Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 30 of 31 PageID: 139

'1,.   C   \·   .,




                       parties in this case: All registered efiling attorneys>self-represented
                       debtors (if this is a bankruptcy case,) or self-represented plaintiffs and
                       defendants (if this is an adversary proceeding.) Please see the Court's
                       website, njb.uscourts.gov for more information as it becomes available ..
                       Uml) (Entered: 12/31/2018)                           ·                   ·
                       01/04/2019         .
                       25
                       (9 p gs)                          .
                       Brief in Opposition to Debtor's Notice of Motion for Reconsideration
                       (related document: 16 Motion re: and REeconsideration with Certification
                       to Review the Court's Findings iin the Memorandum regarding to convert
                     - this case to another Chapter and for considering Doc. 1O filed on 12/4/18
                       Filed by Robert W Knaak.Hearing scheduled for 1/15/2019 at 02:00 PM at
                       ASA - Courtroom 48, Camden. (Attachments: # 1 Certification # 2
                       Certificate of Service# 3 Proposed Order) (be) filed by Plaintiff Robert W
                       Knaak) filed by Lawrence P. Maher on behalf of Wells Fargo Barik, N.A..
                       (Maher, Lawrence) (Entered: 01104/2019)
                       01/04/2019              -
                      26
                      ~p~                                                  .
                      Certificate of Service (r~lated document:16 Motion (Generic) filed by
                      Plaintiff Robert W Knaak) filed by Lawrence P. Maher on behalf of Wells
                      Fargo Bank, N.A .. (Maher, Lawrence) (Entered: 01/04/2019)
                      01/04/2019 ·
                      27
                      (4 p·gs)           -~,.i.,.,
                      BNC Certificate of Notice - Order No. of Notices: 3. Notice Date
                      01/04/2019. (Admin.) (Entered: 01/05/2019)
                      01/07/20,19                          .
                      28 ,
                      (4 p gs; 2 docs)
                      Order Denying Motion for Reconsideration. (Related Doc# 16).' Service
                      of notice of the entry of this order pursuant to Rule 9022 was made on the
                      appropriate parties. See BNC Certificate of Notice. Signed on 1/7/2019 ..
                      (be) (Entered: 01/07/2019)
                      01/07/2019
                      29
                      (14 pgs; 2 docs)
                      Certification of Failure to File Designation of Record (related .
                      document: 18 Notice of Appeal filed by Plaintiff Robert W Knaak)
                      (Attachments:# 1 Proposed Order Dismissing Notice.of Appeal) UPP)
                      (Entered: .01/07/2019)
                      01/07/2019
                      30
                      (1 pg)
                      Transmittal of Record on Appeal to U.S. District Court (related
                      documents: 18 Notice of Appeal filed by Robert W Knaak, 29 Certification
                      of Failure to File Designation of Record). UPP) (Entered: 01/07/2019)
                      01/08/2019                                        .
                      31
                      (1 pg)                                                            ..
                      COPY OF DISTRICT COURT ORDER. Judge Noel L. Hillman·
                      Dismissed Bankruptcy Court Appeal. (CV# 18-17309) (related _


                                                                       30
 Case 1:18-cv-17309-NLH Document 5 Filed 01/15/19 Page 31 of 31 PageID: 140



                               .    .            .         .                     .
document:18 Notice of Appeal filed by Plaintiff Robert W Knaak, 29
Certification of. Failure to File Designation of Record). Signed_ on
1/8/2019. (nrf) (Entered: 01/08/2019)                     ·
01/09/2019
32
(32 pgs)
Statement of Issues on Appeal (related document: 18 Notice of Appeal ·
filed by Plaintiff Robert W Knaak), Designation of Record On Appeal
(related document: 18 Notice of Appeal filed by Plaintiff Robert W Knaak)
Filed by Robert W Knaak. Transmission of Record due 1/23/2019.
Appellee designation due by 1/23/2019. UPP) (Entered:. 01/09/2019)
1/13/2019 US Bankruptcy Court NJ O Liye Database                                 ·
https://ecf.,njb. uscourts.gov/cgi-bin/DktRpt. pl?253012764234071-L_1_ 0-1 6/6
01/09/2019 33
(2 p gs)
BNC Certificate of Notice - Order No. of Notices: 1. Notice Date
       01/09/2019. (Admin.) (Entered: 01/10/2019).




                                                                 31
